               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:16 po 04-02
                                1:16 po 04-03



UNITED STATES OF AMERICA,                       )
                                                )
Vs.                                             )                  ORDER
                                                )
                                                )
2) JAMES HARRISON JENKINS, and                  )
3) TERRY RONALD JENKINS,                        )
                                                )
                  Defendants.                   )
____________________________________            )


      THIS MATTER is before the undersigned pursuant to a document filed by

the Government entitled “Notice Regarding Potential Trial Dates” (#51).                  The

undersigned has reviewed the document and has consulted with the Office of the

Clerk. As a result of such consultation, the trial of this matter will be set for March

27, 2017 in the United States Courthouse in Asheville, North Carolina.

                                      ORDER

      IT IS, THEREFORE, ORDERED that the trial of the above entitled matter

is hereby scheduled for March 27, 2017 at 9:30 a.m. in courtroom #1 of the United

States Courthouse in Asheville, North Carolina.


                                        Signed: January 26, 2017




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